                       Case MDL No. 3010 Document 35 Filed 05/19/21 Page 1 of 1
  UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

                 3010                                                      Digital Advertising Litigation
MDL No. _____________ & TITLE - IN RE: __________________________________

Case Caption (Include Plaintiff, District, and Civil Action No.) (attach list if necessary):

Ecent Corporation v. Google LLC, et al. - WVS/5:21-cv-00251
_________________________________________________________________

                                     CORPORATE DISCLOSURE STATEMENT

                                                Ecent Corporation
The undersigned counsel for ___________________________, (attach list if necessary) certifies that this
party is a non-governmental corporate party and that:


             This party's parent corporation(s) are listed below:




             The following publicly-held corporation(s) own 10% or more of the party's stock (attach list if
             necessary):




OR
✔       This party does not have any parent corporations; and no publicly-held corporation owns 10% or
more of the party's stock.



/s/ Paul T. Farrell, Jr.                                                            Farrell & Fuller, LLC
_____________________________                                                      __________________________________
       Signature of Attorney                                                                            Name of Firm


1311 Ponce de Léon Ave., Suite 202                                                San Juan, Puerto Rico 00907
___________________________                                                      ___________________________________
       Address                                                                                          City/State/Zip Code

       05/19/2021
Date _____________________


Instructions:

1. Download the form. Fill out the form and save as a PDF document. All documents filed with the Judicial Panel should be in PDF Format including attachments and
exhibits. The Corporate Disclosure Statement is to be filed as a separate document. Any documents submitted with the Corporate Disclosure Statement are attachments.
2. Select MDL from the menu bar at the top of the ECF screen.
3. Click on Corporate Disclosure Statement. Select Next.
4. Enter the three or four digit number (without the MDL letters) and click the Find This Case button.
5. If this is the correct MDL No., select next. Also, select next for the following screen.
6. Choose the cases for which the Disclosure Statement is being filed.
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8. Select the document to which the Corporate Disclosure relates. (Note: Disclosures filed in new litigations will be linked to the initial Motion for Transfer and Disclosures
filed in transferred litigations should be linked to the Conditional Transfer Order (CTO) or Motion and Brief to Vacate CTO).
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